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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

COMPASS MARKETING, INC.                      :
                                             :
              Plaintiff                      :
                                             :
        v.                                   :       Civil Action No. 1:22-CV-00379
                                             :       Judge George Levi Russell, III
FLYWHEEL DIGITAL, LLC, et al.                :
                                             :
              Defendants                     :

     DEFENDANTS MICHAEL WHITE AND GEORGE WHITE’S REQUEST FOR
                   HEARING ON MOTION TO DISMISS

        Defendants Michael White and George White, by and through counsel, Jeffrey M.

Schwaber, Judith G. Cornwell, and Stein Sperling Bennett De Jong Driscoll PC, pursuant to

Local Rule 105.6, hereby request a hearing on Defendants Michael White and George White’s

Motion to Dismiss filed on April 25, 2022.

                                             Respectfully submitted,

                                             STEIN SPERLING BENNETT
                                             DE JONG DRISCOLL PC


                                                     /s/ Jeffrey M. Schwaber
                                             Jeffrey M. Schwaber (Bar ID 06095)
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                                             Attorneys for Michael White and George White




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that on this 26th day of April, 2022, copies of the foregoing was

electronically filed and served on all counsel of record via CM/ECF.

                                                       /s/ Jeffrey M. Schwaber
                                                    Jeffrey M. Schwaber




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